
Upon consideration of the petition filed by Defendant on the 12th of April 2016 in this matter for a writ of certiorari to review the order of the Superior Court, Durham County, the following order was entered and is hereby certified to the Superior Court of that County:
"Dismissed by order of the Court in conference, this the 9th of June 2016."
The following order has been entered on the motion filed on the 12th of April 2016 by Defendant to Proceed In Forma Pauperis:
"Motion Allowed by order of the Court in conference, this the 9th of June 2016."
The following order has been entered on the motion filed on the 12th of April 2016 by Defendant to Appoint Counsel:
"Motion Dismissed as moot by order of the Court in conference, this the 9th of June 2016."
